          Case 2:20-cv-01369-GMN-NJK Document 9 Filed 10/27/20 Page 1 of 1




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                             UNITED STATES DISTRICT COURT
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                                    DISTRICT OF NEVADA
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 7   DONNIE R. SMITH,
                                                      Case No.: 2:20-cv-01369-GMN-NJK
 8         Plaintiff(s),
                                                                   ORDER
 9   v.
10   LVNV FUNDING, LLC,
11         Defendant(s).
12        The Court ordered Defendant to file its response to the complaint by October 2, 2020,
13 Docket No. 8, but Defendant has failed to do so to date. Defendant is hereby ORDERED to file
14 its response to the complaint by November 2, 2020. FAILURE TO COMPLY WITH THIS
15 ORDER MAY RESULT IN SANCTIONS, UP TO AND INCLUDING DISPOSITIVE
16 SANCTIONS.
17        IT IS SO ORDERED.
18        Dated: October 27, 2020
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                                                           Nancy J. Koppe
20                                                         United States Magistrate Judge
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